IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 SARAH PALIN,                                                    No. 17 Civ. 4853 (JSR)
                                                             :
                                   Plaintiff,                :   ECF Case
                                                             :
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                            -against-                        :   DECLARATION OF
                                                             :   JAMES BENNET
                                                             :
 THE NEW YORK TIMES COMPANY and JAMES                        :
 BENNET,                                                     :
                                                             :
                                  Defendants.                :
                                                             :
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        James Bennet, pursuant to 28 U.S.C. § 1746, declares as follows:

        1.      I am a defendant in the above-captioned action. I submit this declaration in

support of Defendants’ Motion for Summary Judgment.

        2.      I have personal knowledge of the facts stated herein and would be competent to

testify to them at trial.

        3.      At all times relevant to this lawsuit, I was the editor overseeing all opinion

journalism at The New York Times Company (“The Times”).

        4.      On June 14, 2017, I edited and substantially revised Elizabeth Williamson’s draft

of “America’s Lethal Politics,” the editorial at issue in this action (“Editorial”). I also had

ultimate responsibility for the contents of the Editorial.

        5.      As originally published after I revised it, the Editorial included the following two

paragraphs, which Sarah Palin alleges in this litigation defamed her personally:

             Was this attack evidence of how vicious American politics has
             become? Probably. In 2011, when Jared Lee Loughner opened fire in
            a supermarket parking lot, grievously wounding Representative Gabby
            Giffords and killing six people, including a 9-year-old girl, the link to
            political incitement was clear. Before the shooting, Sarah Palin’s
            political action committee circulated a map of targeted electoral
            districts that put Ms. Giffords and 19 other Democrats under stylized
            cross hairs.

            Conservatives and right-wing media were quick on Wednesday to
            demand forceful condemnation of hate speech and crimes by anti-
            Trump liberals. They’re right. Though there’s no sign of incitement
            as direct as in the Giffords attack, liberals should of course hold
            themselves to the same standard of decency that they ask of the right.

       6.      I drafted the phrase, “the link to political incitement was clear” in the above-

quoted passage. I intended that phrase to refer to the fact that Rep. Giffords, one of the victims

of the Loughner shooting, had been the subject of inflammatory political rhetoric. Specifically,

on a map produced by the political action committee associated with Sarah Palin, crosshairs had

been placed over Rep. Giffords’ district (the “Crosshairs Map”).

       7.      When, later in the next paragraph of the Editorial, I wrote that, in the shooting of

Rep. Scalise and others that day there was “no sign of incitement as direct as in the Giffords

attack”, I meant that I was unaware prior to the shooting of inflammatory political rhetoric

directed specifically at Scalise or the other congressmen at the ballfield.

       8.      I did not intend to imply a direct causal link between the Crosshairs Map and

Loughner’s horrific acts. Prior to publication of the Editorial, it did not occur to me that readers

would understand the phrase “the link to political incitement was clear” as suggesting that

Loughner himself was directly inspired or motivated by the Crosshairs Map to engage in the

shooting, and I did not intend for readers to draw such an inference. Rather, I intended to

advance the idea that overheated political rhetoric can create a climate conducive to violent acts,

and I mentioned the Crosshairs Map as an example of the kind of “political incitement” that

contributes to this atmosphere.



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       9.      Prior to publication, I also did not think that the reference in the Editorial to

“Sarah Palin’s political action committee” circulating the Crosshairs Map would be understood

by readers as an assertion that Sarah Palin, personally, was responsible for the Crosshairs Map,

nor did I intend for readers to understand it as such. There has been substantial reporting on

Political Action Committees, commonly known as PACs, and I believed readers would

understand the difference between Sarah Palin and the PAC that bore her name.

       10.     At the time the Editorial was published, I did not know whether or not there was

a direct causal link between the Crosshairs Map and Loughner’s shooting of Giffords and others.

At the time the Editorial was published, I did not recall reading any publications suggesting that

such a causal link did not exist, including articles published in The Atlantic, Andrew Sullivan’s

blog The Dish, The Atlantic Wire, National Journal, or by The Times itself.

       11.     On the day The Times published the Editorial, no Times employee working on the

Editorial told me that there was not a causal link between the Crosshairs Map and Loughner’s

shooting of Giffords and others.

       12.     Prior to my most recent role at The Times, I was the Editor-in-Chief for The

Atlantic monthly magazine between 2006 and 2016. I also served as co-president of The Atlantic

between 2014 and 2016.

       13.     In 2011, The Atlantic had several “sister” publications that were also part of The

Atlantic’s parent company, Atlantic Media, including The Atlantic Wire and National Journal. I

was not the Editor of either publication and did not review or edit articles in either of these two

publications prior to publication.




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